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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    Masih Alinejad,

                                     Plaintiff,

                           vs.                          Case Number: 1:19-cv-03599-EGS

    The Islamic Republic of Iran et al.;

                                    Defendants.




                                     NOTICE OF ERRATA


       Plaintiff Masih Alinejad respectfully submits this Notice of Errata to its Status Report

(docket # 16) in order to correct an inadvertent error. Plaintiff filed a Status Report on June 24,

2021; however, the uploaded status report has been a wrong document, related to a different

case. Plaintiff has resubmitted a correct Status Report immediately after the filing the wrong file.

Now we are asking this court to either delete or reject the status report filed in mistake, docket

#16. Counsel for Plaintiff apologizes for this error.


Submitted this 24th day of June 2021.



                                                        _______/s/___________________
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